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1                                       UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

3                                                       ***

4
      UNITED STATES OF AMERICA,
5
                           Plaintiff,
6                                                          2:13-cr-00039-JAD-VCF
      vs.                                                  ORDER SETTING BRIEFING SCHEDULE
7     RAMON DESAGE, et al.,                                REGARDING BRADY MATERIALS
8                           Defendants.
9           Judge Dorsey has remanded this matter for the magistrate judge to determine whether the
10   Hefetz/Frey tax returns in the government’s possession are, in whole or in part, discoverable under Brady.
11   ECF No. 214.
12          Accordingly, IT IS HEREBY ORDERED that on or before January 24, 2017, Desage must file a
13   motion seeking disclosure of all or portions of these returns under Brady. The government’s response and
14   Desage’s reply must be filed within the times permitted by LCR 12-1(a)(2)&(3).
15          DATED this 10th day of January, 2017.
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                                                                 CAM FERENBACH
18                                                               UNITED STATES MAGISTRATE JUDGE

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